Case 1:13-cv-02168-WYD-MJW Document 12 Filed 12/02/13 USDC Colorado Page 1 of 1




                     IN THE UNITED STATES DISTRICT COURT
                         FOR THE DISTRICT OF COLORADO

  Civil Action No. 13-cv-02168-WYD-MJW

  ROBERT A. PFAFF,

  Plaintiff(s),

  v.

  UNITED STATES OF AMERICA,

  Defendant(s).

                                  MINUTE ORDER

  Entered by Magistrate Judge Michael J. Watanabe

          It is hereby ORDERED that the United States’ Unopposed Motion to Attend
  Status Conference by Telephone (Docket No. 10) is GRANTED. Defense counsel may
  participate in the Scheduling Conference set on December 17, 2013, at 9:00 a.m.
  MOUNTAIN TIME by calling the court at (303) 844-2403.

  Date: December 2, 2013
